Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                          Document     Page 1 of 52
Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                          Document     Page 2 of 52
Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                          Document     Page 3 of 52
Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                          Document     Page 4 of 52
Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                          Document     Page 5 of 52
Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                          Document     Page 6 of 52
Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                          Document     Page 7 of 52
Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                          Document     Page 8 of 52
Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                          Document     Page 9 of 52
                       Case 19-30148                  Doc 1            Filed 02/26/19 Entered 02/26/19 14:17:42                                                  Desc Main
                                                                        Document     Page 10 of 52
 Fill in this information to identify your case:

 Debtor 1                   William Foxe
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Rachel Foxe
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF MASSACHUSETTS

 Case number
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $            140,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $             58,342.86

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $            198,342.86

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $            168,281.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $                     0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $             16,333.81


                                                                                                                                     Your total liabilities $                184,614.81


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $               4,944.72

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $               4,629.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                     Desc Main
                                                                  Document     Page 11 of 52
 Debtor 1      William Foxe
 Debtor 2      Rachel Foxe                                                                Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $         8,601.82


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
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                       Case 19-30148                     Doc 1              Filed 02/26/19 Entered 02/26/19 14:17:42                                        Desc Main
                                                                             Document     Page 12 of 52
 Fill in this information to identify your case and this filing:

 Debtor 1                    William Foxe
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Rachel Foxe
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF MASSACHUSETTS

 Case number                                                                                                                                                       Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        31 Crown Street                                                                Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        Westfield                         MA        01085-0000                         Land                                       entire property?             portion you own?
        City                              State              ZIP Code                  Investment property                               $140,000.00                  $140,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Hampden                                                                        Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $140,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
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                  Case 19-30148                   Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                       Desc Main
                                                                  Document     Page 13 of 52
 Debtor 1        William Foxe
 Debtor 2        Rachel Foxe                                                                                        Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       VW                                        Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Jetta GLS                                       Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1999                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                  70,000                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $2,100.00                  $2,100.00
                                                                     (see instructions)



  3.2    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      F150                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1995                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                  77,000                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $2,000.00                  $2,000.00
                                                                     (see instructions)



  3.3    Make:     Jeep                                        Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:    Grand Cherokee Sport                              Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:     2008                                              Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:    149,000                             Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $3,700.00                  $3,700.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Diamond Plows                             Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Meyer                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only                                            Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                                 $500.00                     $500.00
         snow plow                                                   (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $8,300.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.



Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                     Desc Main
                                                                  Document     Page 14 of 52
 Debtor 1       William Foxe
 Debtor 2       Rachel Foxe                                                                         Case number (if known)

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    normal household goods and furnishings                                                                         $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Television; computer                                                                                           $350.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    fishing gear                                                                                                   $100.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    normal wearing apparel                                                                                         $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    engagement ring; wedding bands; assorted silver jewelry                                                        $400.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    hermit crab and tank                                                                                             $20.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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                   Case 19-30148                             Doc 1               Filed 02/26/19 Entered 02/26/19 14:17:42                              Desc Main
                                                                                  Document     Page 15 of 52
 Debtor 1         William Foxe
 Debtor 2         Rachel Foxe                                                                                                 Case number (if known)

        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $1,870.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                     $30.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Berkshire Bank                                                        $109.10



                                              17.2.       Checking                                Westfield Bank                                                          $12.58



                                              17.3.       Checking                                Berkshire Bank                                                            $2.94


                                                          Health Savings
                                              17.4.       Account                                 Aetna PayFlex                                                       $6,768.24


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:
Official Form 106A/B                                                                       Schedule A/B: Property                                                           page 4
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                  Case 19-30148                     Doc 1        Filed 02/26/19 Entered 02/26/19 14:17:42                                 Desc Main
                                                                  Document     Page 16 of 52
 Debtor 1         William Foxe
 Debtor 2         Rachel Foxe                                                                                 Case number (if known)


                                          403(b)                            Mutual of America                                                            $8,900.00


                                          401(k)                            Fidelity Investments                                                       $25,150.00


                                          401(k)                            MassMutual
                                                                            PS Retirement Plan Employees of WGI, Inc.                                    $4,200.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         anticipated income tax return                             Federal and State                     $3,000.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
Official Form 106A/B                                                   Schedule A/B: Property                                                                  page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                  Case 19-30148                       Doc 1            Filed 02/26/19 Entered 02/26/19 14:17:42                                                Desc Main
                                                                        Document     Page 17 of 52
 Debtor 1        William Foxe
 Debtor 2        Rachel Foxe                                                                                                     Case number (if known)

        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             life insurance through employment                                                                                                Unknown


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $48,172.86


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 6
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                   Case 19-30148                         Doc 1            Filed 02/26/19 Entered 02/26/19 14:17:42                                               Desc Main
                                                                           Document     Page 18 of 52
 Debtor 1         William Foxe
 Debtor 2         Rachel Foxe                                                                                                           Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $140,000.00
 56. Part 2: Total vehicles, line 5                                                                            $8,300.00
 57. Part 3: Total personal and household items, line 15                                                       $1,870.00
 58. Part 4: Total financial assets, line 36                                                                  $48,172.86
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $58,342.86              Copy personal property total           $58,342.86

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $198,342.86




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 7
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                       Case 19-30148              Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                             Desc Main
                                                                  Document     Page 19 of 52
 Fill in this information to identify your case:

 Debtor 1                  William Foxe
                           First Name                       Middle Name                 Last Name

 Debtor 2                  Rachel Foxe
 (Spouse if, filing)       First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      31 Crown Street Westfield, MA 01085                            $140,000.00                                 $5,000.00     11 U.S.C. § 522(d)(5)
      Hampden County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      1999 VW Jetta GLS 70,000 miles                                   $2,100.00                                 $3,775.00     11 U.S.C. § 522(d)(2)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      1995 Ford F150 77,000 miles                                      $2,000.00                                 $2,000.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 3.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2008 Jeep Grand Cherokee Sport                                   $3,700.00                                 $3,775.00     11 U.S.C. § 522(d)(2)
      149,000 miles
      Line from Schedule A/B: 3.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Diamond Plows Meyer                                                 $500.00                                  $500.00     11 U.S.C. § 522(d)(5)
      snow plow
      Line from Schedule A/B: 4.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                Desc Main
                                                                  Document     Page 20 of 52
 Debtor 1    William Foxe
 Debtor 2    Rachel Foxe                                                                                 Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     normal household goods and                                          $500.00                                   $500.00        11 U.S.C. § 522(d)(3)
     furnishings
     Line from Schedule A/B: 6.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Television; computer                                                $350.00                                   $350.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     fishing gear                                                        $100.00                                   $100.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     normal wearing apparel                                              $500.00                                   $500.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     engagement ring; wedding bands;                                     $400.00                                   $400.00        11 U.S.C. § 522(d)(4)
     assorted silver jewelry
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     hermit crab and tank                                                 $20.00                                    $20.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                 $30.00                                    $30.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Berkshire Bank                                            $109.10                                   $109.10        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Westfield Bank                                             $12.58                                    $12.58        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Berkshire Bank                                               $2.94                                     $2.94       11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Health Savings Account: Aetna                                    $6,768.24                                  $6,768.24        11 U.S.C. § 522(d)(5)
     PayFlex
     Line from Schedule A/B: 17.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                Desc Main
                                                                  Document     Page 21 of 52
 Debtor 1    William Foxe
 Debtor 2    Rachel Foxe                                                                                 Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     403(b): Mutual of America                                        $8,900.00                                       100%        11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): Fidelity Investments                                    $25,150.00                                       100%        11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): MassMutual                                               $4,200.00                                       100%        11 U.S.C. § 522(d)(12)
     PS Retirement Plan Employees of
     WGI, Inc.                                                                             100% of fair market value, up to
     Line from Schedule A/B: 21.3                                                          any applicable statutory limit

     Federal and State: anticipated                                   $3,000.00                                  $3,000.00        11 U.S.C. § 522(d)(5)
     income tax return
     Line from Schedule A/B: 28.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     life insurance through employment                                Unknown                                         100%        11 U.S.C. § 522(d)(7)
     Line from Schedule A/B: 31.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                       Case 19-30148              Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                     Desc Main
                                                                  Document     Page 22 of 52
 Fill in this information to identify your case:

 Debtor 1                   William Foxe
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Rachel Foxe
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Cavalry Portfolio
 2.1                                                                                                              $3,281.00             $140,000.00            $3,281.00
         Services, LLC                            Describe the property that secures the claim:
         Creditor's Name                          31 Crown Street Westfield, MA
                                                  01085 Hampden County
         500 Summit Lake Drive,
                                                  As of the date you file, the claim is: Check all that
         Suite 400                                apply.
         Valhalla, NY 10595-1340                      Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


         JPMorgan Chase Bank,
 2.2                                                                                                          $161,000.00               $140,000.00           $21,000.00
         National Assoc.                          Describe the property that secures the claim:
         Creditor's Name                          31 Crown Street Westfield, MA
                                                  01085 Hampden County
                                                  As of the date you file, the claim is: Check all that
         P. O. Box 24696                          apply.
         Columbus, OH 43224                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Mortgage
       community debt



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                  Case 19-30148                    Doc 1            Filed 02/26/19 Entered 02/26/19 14:17:42                                         Desc Main
                                                                     Document     Page 23 of 52
 Debtor 1 William Foxe                                                                                        Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Rachel Foxe
               First Name                  Middle Name                      Last Name


 Date debt was incurred          11/2013                     Last 4 digits of account number         4992

         Wells Fargo Dealer
 2.3                                                                                                                   $4,000.00                  $3,700.00             $300.00
         Services                                   Describe the property that secures the claim:
         Creditor's Name                            2008 Jeep Grand Cherokee Sport
                                                    149,000 miles
                                                    As of the date you file, the claim is: Check all that
         P. O. Box 1697                             apply.
         Winterville, NC 28590                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
       community debt

 Date debt was incurred          03/2015                     Last 4 digits of account number         3667


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $168,281.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $168,281.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Cavalry Portfolio Services, LLC
          c/o Schreiber/Cohen, LLC                                                                    Last 4 digits of account number
          53 Stiles Road, Suite A-102
          Salem, NH 03079

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          Chase Mortgage
          301 N Walnut Street, Floor 09                                                               Last 4 digits of account number
          Wilmington, DE 19801-3935

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          JPMorgan Chase Bank, N.A.
          Mail Code LA 4-6475                                                                         Last 4 digits of account number
          700 Kansas Lane
          Monroe, LA 71203

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          JPMorgan Chase Bank, National Assoc.
          c/o Orlans PC                                                                               Last 4 digits of account number
          P. O. Box 540540
          Waltham, MA 02454




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 2
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                       Case 19-30148              Doc 1           Filed 02/26/19 Entered 02/26/19 14:17:42                                           Desc Main
                                                                   Document     Page 24 of 52
 Fill in this information to identify your case:

 Debtor 1                   William Foxe
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Rachel Foxe
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Action Collection Agency of Boston                      Last 4 digits of account number         0678                                                           $101.00
              Nonpriority Creditor's Name
              16 Commerce Blvd, Ste 4                                 When was the debt incurred?             2018
              Middleboro, MA 02346
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                           assignee for Boston Maternal Fetal
                  Yes                                                     Other. Specify   Medicine




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 8
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                       Desc Main
                                                                  Document     Page 25 of 52
 Debtor 1 William Foxe
 Debtor 2 Rachel Foxe                                                                                    Case number (if known)

 4.2      Alden Credit Union                                         Last 4 digits of account number       xxxx                                             $5,430.00
          Nonpriority Creditor's Name
          710 Grattan Street                                         When was the debt incurred?           2012--2014
          Chicopee, MA 01020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   charged off credit card account


 4.3      Arbella Insurance Group                                    Last 4 digits of account number                                                          $120.00
          Nonpriority Creditor's Name
          P. O. Box 55392                                            When was the debt incurred?           2018
          Boston, MA 02205-5392
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   insurance premiums due


 4.4      Boston MFM, LLC                                            Last 4 digits of account number       0678                                               $195.90
          Nonpriority Creditor's Name
          Attn #15203K                                               When was the debt incurred?           2/2018
          P. O. Box 14000
          Belfast, ME 04915-4033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 8
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                       Desc Main
                                                                  Document     Page 26 of 52
 Debtor 1 William Foxe
 Debtor 2 Rachel Foxe                                                                                    Case number (if known)

          Kohl's Department Store/Capital
 4.5      One                                                        Last 4 digits of account number       7317                                               $599.00
          Nonpriority Creditor's Name
          P. O. Box 3115                                             When was the debt incurred?           2017
          Milwaukee, WI 53201-3115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         consumer goods purchased on store credit
              Yes                                                       Other. Specify   account


          Mercy Inpatient Medical Associates,
 4.6      Inc.                                                       Last 4 digits of account number       2229                                                 $73.49
          Nonpriority Creditor's Name
          P. O. Box 419199                                           When was the debt incurred?           2018
          Boston, MA 02241-9199
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered


 4.7      Mercy Medical Center                                       Last 4 digits of account number       8541                                             $1,009.67
          Nonpriority Creditor's Name
          Attn: Business Office                                      When was the debt incurred?           02/2018
          P. O. Box 531862
          Atlanta, GA 30353-1862
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 8
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                       Desc Main
                                                                  Document     Page 27 of 52
 Debtor 1 William Foxe
 Debtor 2 Rachel Foxe                                                                                    Case number (if known)

 4.8      Natus Peloton                                              Last 4 digits of account number       4113                                               $125.00
          Nonpriority Creditor's Name
          P. O. Box 3606                                             When was the debt incurred?           02/2018
          Carol Stream, IL 60132-3606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered


 4.9      RiverBend Medical Group, Inc.                              Last 4 digits of account number       6722                                                 $26.36
          Nonpriority Creditor's Name
          P. O. Box 1077                                             When was the debt incurred?           06/2018
          Chicopee, MA 01021-1077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered


 4.1
 0        Southwest Credit Systems                                   Last 4 digits of account number       5224                                               $310.21
          Nonpriority Creditor's Name
          4120 International Pkwy, Suite 1100                        When was the debt incurred?
          Carrollton, TX 75007
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   collection agency for Comcast account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 8
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                       Desc Main
                                                                  Document     Page 28 of 52
 Debtor 1 William Foxe
 Debtor 2 Rachel Foxe                                                                                    Case number (if known)

 4.1
 1        Synchrony Bank/WalMart                                     Last 4 digits of account number       xxxx                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept.                                     When was the debt incurred?           2010--2014
          P. O. Box 965060
          Orlando, FL 32896-5060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   charged off store credit card account


 4.1
 2        Trinity Health of NE Medical Group                         Last 4 digits of account number       6722                                                 $18.98
          Nonpriority Creditor's Name
          1000 Asylum Avenue, 5th Floor                              When was the debt incurred?
          Hartford, CT 06105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered


 4.1
 3        USAlliance Federal Credit Union                            Last 4 digits of account number       5170                                             $7,745.90
          Nonpriority Creditor's Name
          411 Theodore Fremd Avenue                                  When was the debt incurred?           01/2013
          Rye, NY 10580
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   charged off auto loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 8
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                         Desc Main
                                                                  Document     Page 29 of 52
 Debtor 1 William Foxe
 Debtor 2 Rachel Foxe                                                                                    Case number (if known)

 4.1
 4         Westfield Gas & Electric Light Dept.                      Last 4 digits of account number       4052                                                       $358.30
           Nonpriority Creditor's Name
           P. O. Box 990                                             When was the debt incurred?
           Westfield, MA 01086
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   residential utility service


 4.1       Woodland Anesthesiology
 5         Associates, PC                                            Last 4 digits of account number       3646                                                       $220.00
           Nonpriority Creditor's Name
           114 Woodland Street                                       When was the debt incurred?           02/2018
           Hartford, CT 06105-1208
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Arbella Insurance Group                                       Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Credit Collection Services                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 725 Canton Street
 Norwood, MA 02062
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Boston Maternal Fetal Medicine                                Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1 Brookline Place #301                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Brookline, MA 02445
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comcast                                                       Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P. O. Box 6505                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Chelmsford, MA 01824
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercy Inpatient Medical Associates,                           Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 6 of 8
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                         Desc Main
                                                                  Document     Page 30 of 52
 Debtor 1 William Foxe
 Debtor 2 Rachel Foxe                                                                                    Case number (if known)

 Inc.                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 c/o IC System, Inc.
 444 Highway 96 East
 P. O. Box 64378
 Saint Paul, MN 55164-0378
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercy Medical Center                                          Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Receivables Outsourcing, LLC                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 P. O. Box 549
 Timonium, MD 21094
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 RiverBend Medical Group                                       Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Carter Business Services                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 150A Andover Street, Ste 12
 Danvers, MA 01923
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Trinity Health Medical                                        Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o American Adjustment Bureau,                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Inc.
 P. O. Box 150447
 Hartford, CT 06115-0447
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Trinity Health of NE Medical Group                            Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P. O. Box 1077                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Chicopee, MA 01021-1077
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 USAlliance Federal Credit Union                               Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 18 Commerce Way, Suite 7100                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Woburn, MA 01801
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Woodland Anesthesiology                                       Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Associates, PC                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 c/o Eastern Account System of CT,
 Inc.
 P. O. Box 837
 Newtown, CT 06470-0837
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
         Total

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 7 of 8
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                         Desc Main
                                                                  Document     Page 31 of 52
 Debtor 1 William Foxe
 Debtor 2 Rachel Foxe                                                                                Case number (if known)

      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                  0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                  0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             16,333.81

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             16,333.81




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 8 of 8
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                       Case 19-30148               Doc 1           Filed 02/26/19 Entered 02/26/19 14:17:42                         Desc Main
                                                                    Document     Page 32 of 52
 Fill in this information to identify your case:

 Debtor 1                  William Foxe
                           First Name                         Middle Name              Last Name

 Debtor 2                  Rachel Foxe
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF MASSACHUSETTS

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                       Case 19-30148                 Doc 1            Filed 02/26/19 Entered 02/26/19 14:17:42              Desc Main
                                                                       Document     Page 33 of 52
 Fill in this information to identify your case:

 Debtor 1                   William Foxe
                            First Name                            Middle Name       Last Name

 Debtor 2                   Rachel Foxe
 (Spouse if, filing)        First Name                            Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF MASSACHUSETTS

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




    3.2                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
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                      Case 19-30148          Doc 1        Filed 02/26/19 Entered 02/26/19 14:17:42                              Desc Main
                                                           Document     Page 34 of 52


Fill in this information to identify your case:

Debtor 1                      William Foxe

Debtor 2                      Rachel Foxe
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF MASSACHUSETTS

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Mechanic                                   Machinist
       Include part-time, seasonal, or
       self-employed work.                                         Wood Group Pratt & Whitney
                                             Employer's name       LLC                                        WGI, Inc.
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   1460 Blue Hills Avenue                     34 Hudson Drive
                                                                   Bloomfield, CT 06002                       Southwick, MA 01077

                                             How long employed there?         10 years                                  3 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $        4,352.40       $         3,099.55

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00      +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      4,352.40             $   3,099.55




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
              Case 19-30148             Doc 1        Filed 02/26/19 Entered 02/26/19 14:17:42                                   Desc Main
                                                      Document     Page 35 of 52

Debtor 1    William Foxe
Debtor 2    Rachel Foxe                                                                           Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      4,352.40       $         3,099.55

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $        850.94       $            440.87
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $              0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $        261.13       $             86.67
      5d.   Required repayments of retirement fund loans                                   5d.        $        284.87       $              0.00
      5e.   Insurance                                                                      5e.        $        280.67       $             42.08
      5f.   Domestic support obligations                                                   5f.        $          0.00       $              0.00
      5g.   Union dues                                                                     5g.        $          0.00       $              0.00
      5h.   Other deductions. Specify: HSA                                                 5h.+       $        260.00 +     $              0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,937.61       $            569.62
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,414.79       $        2,529.93
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                 0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                 0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                 0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                 0.00
      8e. Social Security                                                                  8e.        $              0.00   $                 0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                  0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,414.79 + $       2,529.93 = $             4,944.72
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.    $           4,944.72
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
              Case 19-30148                Doc 1         Filed 02/26/19 Entered 02/26/19 14:17:42                                     Desc Main
                                                          Document     Page 36 of 52


Fill in this information to identify your case:

Debtor 1                 William Foxe                                                                      Check if this is:
                                                                                                               An amended filing
Debtor 2                 Rachel Foxe                                                                           A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF MASSACHUSETTS                                                  MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Son                                  1                   Yes
                                                                                                                                            No
                                                                                   Daughter                             8                   Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             867.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
            Case 19-30148                  Doc 1         Filed 02/26/19 Entered 02/26/19 14:17:42                                      Desc Main
                                                          Document     Page 37 of 52

Debtor 1     William Foxe
Debtor 2     Rachel Foxe                                                                               Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                  0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                  0.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,500.00
8.    Childcare and children’s education costs                                                 8. $                                               347.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               200.00
10.   Personal care products and services                                                    10. $                                                140.00
11.   Medical and dental expenses                                                            11. $                                                 30.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 540.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 140.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  246.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: excise tax                                                                    16. $                                                  25.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  360.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    vape supplies                                                       21. +$                                                109.00
      storage facility                                                                            +$                                               125.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,629.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,629.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,944.72
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,629.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 315.72

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtors expect to incur increased vehicle maintenance expenses for older and high mileage
                          vehicles and/or additional expense to replace vehicles.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                       Case 19-30148              Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                         Desc Main
                                                                  Document     Page 38 of 52




 Fill in this information to identify your case:

 Debtor 1                    William Foxe
                             First Name                     Middle Name             Last Name

 Debtor 2                    Rachel Foxe
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ William Foxe                                                          X   /s/ Rachel Foxe
              William Foxe                                                              Rachel Foxe
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       February 25, 2019                                              Date    February 25, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                       Case 19-30148              Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                  Desc Main
                                                                  Document     Page 39 of 52


 Fill in this information to identify your case:

 Debtor 1                  William Foxe
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Rachel Foxe
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there
        31 Crown Street                                          From-To:                       Same as Debtor 1                                    Same as Debtor 1
        Westfield, MA 01085                                      11/2013 --                                                                      From-To:
                                                                 08/2018


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                         $8,136.00           Wages, commissions,                 $5,715.00
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                   Desc Main
                                                                  Document     Page 40 of 52
 Debtor 1      William Foxe
 Debtor 2      Rachel Foxe                                                                                 Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income                  Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.              (before deductions
                                                                                    exclusions)                                                       and exclusions)

 For last calendar year:                              Wages, commissions,                       $59,571.00            Wages, commissions,                   $32,979.00
 (January 1 to December 31, 2018 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income                  Gross income
                                                   Describe below.                  each source                    Describe below.                    (before deductions
                                                                                    (before deductions and                                            and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Wells Fargo Dealer Services                               normal monthly                 $1,080.00            $4,000.00             Mortgage
                                                                 payments                                                                  Car
                                                                                                                                           Credit Card
                                                                                                                                           Loan Repayment
                                                                                                                                           Suppliers or vendors
                                                                                                                                           Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 2
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                Desc Main
                                                                  Document     Page 41 of 52
 Debtor 1      William Foxe
 Debtor 2      Rachel Foxe                                                                                 Case number (if known)


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe
       Landlord/uncle                                            normal                         $2,600.00                 $0.00        Mortgage
                                                                 rental/living                                                         Car
                                                                 expenses for                                                          Credit Card
                                                                 residence                                                             Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other residential
                                                                                                                                     rent/expenses


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       JPMorgan Chase Bank, National                             foreclosure                Land Court                                  Pending
       Association v. William Foxe Jr.                                                      Three Pemberton Square                      On appeal
       AKA William Foxe; Rachel Williams                                                    Boston, MA 02108
                                                                                                                                        Concluded
       18 SM 006768

       Cavalry Portfolio Services, LLC                           Garnishment                Chicopee Distrricxt Court                   Pending
       and Cavalry SPV I, LLC assignee of                                                   30 Church Street                            On appeal
       Synchrony Bank/Walmart v.                                                            Chicopee, MA 01020-1896
                                                                                                                                        Concluded
       William Foxe
       1820CV0394


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                   Desc Main
                                                                  Document     Page 42 of 52
 Debtor 1      William Foxe
 Debtor 2      Rachel Foxe                                                                                 Case number (if known)


       Creditor Name and Address                                 Describe the Property                                        Date                      Value of the
                                                                                                                                                           property
                                                                 Explain what happened
       Cavalry Portfolio Services, LLC                           wages                                                        weekly                       $450.00
                                                                                                                              starting
                                                                     Property was repossessed.                                2/08/19
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was              Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                                Desc Main
                                                                  Document     Page 43 of 52
 Debtor 1      William Foxe
 Debtor 2      Rachel Foxe                                                                                 Case number (if known)


 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Access Counseling, Inc.                                       Required pre-banrkruptcy credit                          02/07/19                      $14.95
                                                                     counseling course
       www.accessbk.org


       Law Office of Eric Kornblum                                   Attorney Fees                                            02/18/19                  $2,000.00
       94 North Elm Street
       Suite 402
       Westfield, MA 01085
       edkclientsbk@gmail.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                             Desc Main
                                                                  Document     Page 44 of 52
 Debtor 1      William Foxe
 Debtor 2      Rachel Foxe                                                                                  Case number (if known)


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was        Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                         have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                 have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Southwick Self Storage                                        Debtors                                Christmas decorations;             No
       320 College Highway                                                                                  furniture; books; baby items;      Yes
       Southwick, MA 01077                                                                                  other personal items


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
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                 Case 19-30148                      Doc 1        Filed 02/26/19 Entered 02/26/19 14:17:42                                  Desc Main
                                                                  Document     Page 45 of 52
 Debtor 1      William Foxe
 Debtor 2      Rachel Foxe                                                                                      Case number (if known)


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                           Desc Main
                                                                  Document     Page 46 of 52
 Debtor 1      William Foxe
 Debtor 2      Rachel Foxe                                                                                 Case number (if known)


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ William Foxe                                                        /s/ Rachel Foxe
 William Foxe                                                            Rachel Foxe
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     February 25, 2019                                              Date     February 25, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8
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                       Case 19-30148              Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42               Desc Main
                                                                  Document     Page 47 of 52

 Fill in this information to identify your case:

 Debtor 1                   William Foxe
                            First Name                      Middle Name              Last Name

 Debtor 2                   Rachel Foxe
 (Spouse if, filing)        First Name                      Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number
 (if known)                                                                                                               Check if this is an
                                                                                                                          amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's          Cavalry Portfolio Services, LLC                     Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of         31 Crown Street Westfield, MA                    Reaffirmation Agreement.
    property               01085 Hampden County                             Retain the property and [explain]:
    securing debt:



    Creditor's          JPMorgan Chase Bank, National                       Surrender the property.                      No
    name:               Assoc.                                              Retain the property and redeem it.
                                                                                                                         Yes
                                                                            Retain the property and enter into a
    Description of         31 Crown Street Westfield, MA                    Reaffirmation Agreement.
    property               01085 Hampden County                             Retain the property and [explain]:
    securing debt:



    Creditor's          Wells Fargo Dealer Services                         Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of         2008 Jeep Grand Cherokee                         Reaffirmation Agreement.
    property               Sport 149,000 miles                              Retain the property and [explain]:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42                          Desc Main
                                                                  Document     Page 48 of 52

 Debtor 1      William Foxe
 Debtor 2      Rachel Foxe                                                                           Case number (if known)


     securing debt:                                                       Retain and pay

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ William Foxe                                                             X /s/ Rachel Foxe
       William Foxe                                                                    Rachel Foxe
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        February 25, 2019                                                Date    February 25, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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                 Case 19-30148                    Doc 1          Filed 02/26/19 Entered 02/26/19 14:17:42       Desc Main
                                                                  Document     Page 49 of 52




                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
            William Foxe
 In re      Rachel Foxe                                                                          Case No.
                                                                                 Debtor(s)       Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: February 25, 2019                                              /s/ William Foxe
                                                                      William Foxe
                                                                      Signature of Debtor

 Date: February 25, 2019                                              /s/ Rachel Foxe
                                                                      Rachel Foxe
                                                                      Signature of Debtor




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    Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                             Document     Page 50 of 52

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                      Action Collection Agency of Boston
                      16 Commerce Blvd, Ste 4
                      Middleboro, MA 02346

                      Alden Credit Union
                      710 Grattan Street
                      Chicopee, MA 01020

                      Arbella Insurance Group
                      P. O. Box 55392
                      Boston, MA 02205-5392

                      Arbella Insurance Group
                      c/o Credit Collection Services
                      725 Canton Street
                      Norwood, MA 02062

                      Boston Maternal Fetal Medicine
                      1 Brookline Place #301
                      Brookline, MA 02445

                      Boston MFM, LLC
                      Attn #15203K
                      P. O. Box 14000
                      Belfast, ME 04915-4033

                      Cavalry Portfolio Services, LLC
                      500 Summit Lake Drive, Suite 400
                      Valhalla, NY 10595-1340

                      Cavalry Portfolio Services, LLC
                      c/o Schreiber/Cohen, LLC
                      53 Stiles Road, Suite A-102
                      Salem, NH 03079

                      Chase Mortgage
                      301 N Walnut Street, Floor 09
                      Wilmington, DE 19801-3935

                      Comcast
                      P. O. Box 6505
                      Chelmsford, MA 01824

                      JPMorgan Chase Bank, N.A.
                      Mail Code LA 4-6475
                      700 Kansas Lane
                      Monroe, LA 71203

                      JPMorgan Chase Bank, National Assoc.
                      P. O. Box 24696
                      Columbus, OH 43224
Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                         Document     Page 51 of 52


                  JPMorgan Chase Bank, National Assoc.
                  c/o Orlans PC
                  P. O. Box 540540
                  Waltham, MA 02454

                  Kohl's Department Store/Capital One
                  P. O. Box 3115
                  Milwaukee, WI 53201-3115

                  Mercy Inpatient Medical Associates, Inc.
                  P. O. Box 419199
                  Boston, MA 02241-9199

                  Mercy Inpatient Medical Associates, Inc.
                  c/o IC System, Inc.
                  444 Highway 96 East
                  P. O. Box 64378
                  Saint Paul, MN 55164-0378

                  Mercy Medical Center
                  Attn: Business Office
                  P. O. Box 531862
                  Atlanta, GA 30353-1862

                  Mercy Medical Center
                  c/o Receivables Outsourcing, LLC
                  P. O. Box 549
                  Timonium, MD 21094

                  Natus Peloton
                  P. O. Box 3606
                  Carol Stream, IL 60132-3606

                  RiverBend Medical Group
                  c/o Carter Business Services
                  150A Andover Street, Ste 12
                  Danvers, MA 01923

                  RiverBend Medical Group, Inc.
                  P. O. Box 1077
                  Chicopee, MA 01021-1077

                  Southwest Credit Systems
                  4120 International Pkwy, Suite 1100
                  Carrollton, TX 75007

                  Synchrony Bank/WalMart
                  Attn: Bankruptcy Dept.
                  P. O. Box 965060
                  Orlando, FL 32896-5060

                  Trinity Health Medical
                  c/o American Adjustment Bureau, Inc.
                  P. O. Box 150447
                  Hartford, CT 06115-0447
Case 19-30148   Doc 1   Filed 02/26/19 Entered 02/26/19 14:17:42   Desc Main
                         Document     Page 52 of 52


                  Trinity Health of NE Medical Group
                  1000 Asylum Avenue, 5th Floor
                  Hartford, CT 06105

                  Trinity Health of NE Medical Group
                  P. O. Box 1077
                  Chicopee, MA 01021-1077

                  USAlliance Federal Credit Union
                  411 Theodore Fremd Avenue
                  Rye, NY 10580

                  USAlliance Federal Credit Union
                  18 Commerce Way, Suite 7100
                  Woburn, MA 01801

                  Wells Fargo Dealer Services
                  P. O. Box 1697
                  Winterville, NC 28590

                  Westfield Gas & Electric Light Dept.
                  P. O. Box 990
                  Westfield, MA 01086

                  Woodland Anesthesiology Associates, PC
                  114 Woodland Street
                  Hartford, CT 06105-1208

                  Woodland Anesthesiology Associates, PC
                  c/o Eastern Account System of CT, Inc.
                  P. O. Box 837
                  Newtown, CT 06470-0837
